21-10699-dsj   Doc 185-4    Filed 10/04/21 Entered 10/04/21 18:52:47   Exhibit 2:
                           Affidavit of Service Pg 1 of 3



                                    Exhibit 2

                               Affidavit of Service
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  21-10699-dsj Doc
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                                                                                   2:
                           Affidavit ofPg
                                       Service
                                          1 of 2 Pg 2 of 3


TOGUT, SEGAL & SEGAL LLP
One Penn Plaza, Suite 3335
New York, New York 10119
(212) 594-5000
Neil Berger
Brian F. Shaughnessy
Minta J. Nester
Attorneys for Albert Togut, Not Individually But Solely in His
Capacity as Chapter 7 Interim Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
                                                               :
                    In the Matter                              :   Chapter 7
                                                               :   Case No. 21-10699 (DSJ)
                          -of-                                 :
                                                               :
KOSSOFF PLLC                                                   :
                                            Debtor.            :
                                                               :
-------------------------------------------------------------- X

     AFFIDAVIT OF SERVICE OF SUBPOENA FOR RULE 2004 EXAMINATION

STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

              KRISTA RICCIARDI, being duly sworn, deposes and says: deponent is
not a party to the action, is over 18 years of age and resides in New York, New York.

             On July 13, 2021, deponent served a copy of the Subpoena For Rule 2004
Examination directed to Julia McNally, together with its Exhibit “A”, with a copy of the
May 24, 2021 Order Authorizing Trustee to Issue Subpoenas and Testimony and for Injunctive
Relief [Docket No. 27] and the Final Order Granting Injunctive Relief [Docket No. 62]
upon:
21-10699-dsj
  21-10699-dsj Doc
                 Doc
                   120
                     185-4
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                                                                18:52:47
                                                                       MainExhibit
                                                                            Document
                                                                                   2:
                           Affidavit ofPg
                                       Service
                                          2 of 2 Pg 3 of 3




                          Julia McNally
                          29-50 170th Street
                          Flushing, NY 11358

by Federal Express standard overnight delivery.


                                                         /s/ Krista Ricciardi
                                                    KRISTA RICCIARDI
Sworn to before me this
14th day of July, 2021

/s/ Neil Berger
NOTARY PUBLIC
